     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 1 of 16 Page ID
                                       #:8381


1      Matthew C. Mickelson (S.B.N. 203867)
       LAW OFFICES OF MATTHEW C. MICKELSON
2      16055 Ventura Boulevard, Ste. 1230
       Encino, CA 91436
3      818-382-3360
4      Attorney for Defendants PERFECT 10, INC.
       and NORMAN ZADA
5
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8                                 UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10     GIGANEWS, INC., a Texas corporation;          Case No.: 2:17-cv-05075-AB (JPR)
       LIVEWIRE SERVICES, INC., a Nevada
11     corporation,                                  Before Honorable André Birotte, Jr.
12                  Plaintiffs,                      REPLY DECLARATION OF DR.
                                                     NORMAN ZADA IN SUPPORT OF
13           v.                                      DEFENDANTS’ MOTION FOR
                                                     SUMMARY JUDGMENT OR
14     PERFECT 10, INC., a California                PARTIAL SUMMARY JUDGMENT
       corporation, NORMAN ZADA, an
15     individual, and DOES 1-50, inclusive,         Date:      December 14, 2018
                                                     Time:      10:00 a.m.
16                  Defendants.                      Courtroom: 7B, 350 West First Street,
                                                                Los Angeles, CA 90012
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       Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 2 of 16 Page ID
                                       #:8382



1                               DECLARATION OF DR. NORMAN ZADA
2            I, Norman Zada, declare as follows:
3            1.     I make this declaration in support of Defendants’ motion for summary
4     judgment. Except where otherwise stated, I have direct and personal knowledge of the
5     facts set forth herein and, if called as a witness, could and would competently testify
6     thereto. I have downloaded or otherwise created the documents that are attached to this
7     declaration, which are in all cases true and correct copies, except that in some cases, I
8     may have circled or highlighted portions of those documents for the convenience of the
9     court, or redacted portions for privacy reasons. Any documents marked “confidential”
10    have been intentionally filed publicly to allow the entire reply to be filed in open court.
11           2.     I am the President of Perfect 10, Inc. (“Perfect 10”). After receiving a
12    Ph.D. in Operations Research from the University of California at Berkeley, I worked as
13    a research staff member in the main computer science department at IBM, and
14    subsequently taught as a visiting professor in the area of applied mathematics at Stanford
15    University, UCLA, Columbia University, and UC Irvine.
16         The $454,002 that I added to the Perfect 10 bank account was a short-term loan
17           3.     Plaintiffs incorrectly contend that the $454,002 that I added to the Perfect
18    10 bank account was a capital contribution. It was not. Eric Benink had asked me to
19    wire his custodial account $454,002 to protect himself and his law firm in the event a
20    substantial sanctions award was entered against them. He told me to wire the money to
21    the Perfect 10 bank account and then have Perfect 10 wire the money to him. I wasn’t
22    wiring the money to make an additional investment in Perfect 10, I was wiring the
23    money as a short-term loan to allow Perfect 10 to then wire the money to Eric Benink
24    per his instructions.
25           4.     I know that Plaintiffs are claiming that all of the money that I wired to the
26    Perfect 10 bank account was a capital contribution. That was not my view. My view
27    was that everything I advanced to Perfect 10 was a loan. That view is supported by the
28    fact that there are no minutes showing that any of my advances to Perfect 10 were

                                               -2-                   Case No.:2:17-cv-05075-AB(JPR)
         Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 3 of 16 Page ID
                                       #:8383



1     capital contributions, and the signed promissory notes that I have from Perfect 10,
2     totaling at least $1.655 million. Those notes are attached to a signed letter from the
3     attorney overseeing Perfect 10 corporate matters at that time, Gregory L. Larson. (See
4     Zada Decl. Dkt. 77, page 20 of 130, filed 9/14/18). Exhibit 35 page 276 states, “The
5     Chairman presented to the meeting that he had made loans to the corporation pursuant to
6     previous board action and that said loans were made for corporate business.’ I also
7     recall seeing a financial report in or around 2009 which stated that Perfect 10 owed me
8     approximately $54 million. I know I would never have advanced monies to Perfect 10 if
9     I believed I could never get those monies back. I did not discover that Bruce Hersh was
10    treating my loans to Perfect 10 as capital contributions on Perfect 10’s tax returns until a
11    few weeks ago. I never imagined this would be an issue. I apologize to the Court for
12    not reviewing Perfect 10’s tax returns more carefully.
13           5.     If I was not able to legally receive monies from Perfect 10, I would have
14    stopped providing it with monies and would have stopped working for the company.
15    That would have led to its immediate demise. Over the course of the 18 years I worked
16    for Perfect 10 without receiving a salary, I estimate that I worked at least 40 hours a
17    week, which would be around 37,440 hours.
18            I have been contacted by the Criminal Division of the Justice Department
19           6.     On July 23, 2018, I was contacted by a Jason Gull from the Criminal
20    Division of the Justice Department. Mr. Gull spoke to me for about ninety minutes on
21    the phone. For part of that conversation, there were other persons from the department
22    listening in. Mr. Gull made clear that the department had already studied the publicly
23    filed materials regarding Perfect 10’s case against Giganews. He asked me to send him
24    whatever materials I had that might help the department make a criminal prosecution of
25    Giganews. Attached as Exhibit 42 is a true and correct copy of the textual portion of the
26    first email that I sent him on July 23 in response to his request. I did not bring up this
27    matter in Perfect 10’s opening brief because I wanted to give the Justice department
28    some time before Giganews was made aware of this conversation. Defendants did make

                                               -3-                   Case No.:2:17-cv-05075-AB(JPR)
         Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 4 of 16 Page ID
                                       #:8384



1     Giganews aware of this conversation when Defendants filed their opposition to
2     Plaintiffs’ second request to extend the discovery schedule. See Dkt. 82-3.
3                      Plaintiffs Are Continuing their Disinformation Campaign
4            7.     Plaintiffs have twisted my words repeatedly in statements they have made
5     to the Court. On page one of their Opposition, they claim I admitted that I removed the
6     $850,000 because of the summary judgment orders. They have basically taken a snippet
7     of the testimony and left out other testimony which conveys a much different picture. I
8     also testified I removed the money because I was owed or otherwise entitled to it. At
9     Opp. p. 1:13-14, I never testified that I “made the transfers to avoid enforcement of the
10    Court’s judgement.” In fact, I testified exactly the opposite. Perfect 10 does not control
11    anything. It is completely moribund at this point.
12           8.     At Opp. p. 1:20-24, the notes are unsigned and were never used. They
13    were recreated after a massive flood in October of 2014 destroyed all of Perfect 10’s
14    paper files that were stored in the basement. Attached as Exhibit 43 is a true and correct
15    copy of an email exchange between Melanie Poblete, myself, dated October 18, 2014,
16    regarding that serious flood. I have highlighted where it states that the repairs would
17    cost around $50,000. The actual cost was over $80,000. I only produced those draft
18    documents to satisfy my discovery obligations. I never edited anything to the best of my
19    knowledge. I never “covered anything up” because I never did anything wrong. At
20    most I may have opened the unsigned documents on my computer to review them at
21    some point. Moreover, the documents were not “false” in any way. I always considered
22    my injections of money into Perfect 10 to be loans, and Perfect 10’s repayments to me to
23    be repayments of those loans. I believe my accountant has explained this matter in his
24    declaration. The documents simply memorialize transfers that are reflected in Perfect
25    10’s bank statements.
26           9. At Opp. p. 2:2-5, Bruce Hersh incorrectly left Perfect 10’s physical assets on
27    Perfect 10’s tax returns because I forgot to tell him about that transaction. I have asked
28    Mr. Hersh to file amended returns where necessary. I know that an amended 2017

                                               -4-                   Case No.:2:17-cv-05075-AB(JPR)
         Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 5 of 16 Page ID
                                       #:8385



1     return has already been filed. It is my fault and I apologize to the Court. But at that
2     time, Perfect 10 was in complete crisis and I had many other problems to deal with,
3     including an appeal to the Ninth Circuit. The transaction was no sham. I wired $70,000
4     from my personal account to Perfect 10’s account.
5            10.    At Opp. p. 2:10, Perfect 10 does not have a “Bad-Faith Litigation History.”
6     The company has never been sanctioned, and prior to this case, had never been ordered
7     to pay attorney fees. Perfect 10 has filed a number of important cases, including its
8     cases against Visa, Google, and this case. In all of those cases, the MPAA and RIAA
9     filed Amicus briefs in Perfect 10’s support. In my experience, those organizations do
10    not support meritless cases. When Perfect 10 asked for Supreme Court certification for
11    its case against Visa, Perfect 10 was represented by Donald Verrilli, who later became
12    solicitor general under President Barack Obama.
13           11.    Perfect 10 has, over the years, had the expensive pleasure of working with
14    some of the top copyright lawyers in the country. For example, we had the pleasure of
15    being represented by Douglas Eakeley, Bill Clinton’s former roommate, who won a case
16    for us in New Jersey against Magna Publications. Other well-known attorneys who
17    represented Perfect 10 include Ron Johnson of Arnold and Porter, Russ Frackman of
18    Michell Silverberg, and Ken Doroshow of Jenner and Block. These attorneys do not
19    typically take on meritless cases. Mr. Bridges knows better than to make such
20    outlandish claims. He was the attorney representing Google when Perfect 10 received
21    its preliminary injunction against Google in 2006.
22           12.    At Opp. at p. 2:20-21, Perfect 10 always believed in settling cases out of
23    respect for Court’s limited resources, and because we do not enjoy with litigation and
24    view it as a horrific waste of time. For that reason, we never sought large amounts as
25    Plaintiffs claim. We couldn’t settle with Giganews because it was completely
26    intransigent. For example, most recently, Giganews asked for $23.1 million to settle this
27    case, which is much more than I have. The mediator conveyed to me and Mr.
28    Mickelson, that Plaintiffs told him in essence, that they were willing to throw good

                                               -5-                   Case No.:2:17-cv-05075-AB(JPR)
         Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 6 of 16 Page ID
                                       #:8386



1     money after bad to ruin me.
2            13.    At Opp. at p. 3:13-17, Plaintiffs make the false statement that Perfect 10
3     did not provide them with machine readable Message-IDs. In fact, Plaintiffs know that
4     Perfect 10 provided them with 54,000 machine readable Message-IDs before the end of
5     June 2014. Related case, Dkt. 650-8, ¶¶ 11-12. Ex. 1. They did not process any of those
6     message-IDs to the best of my knowledge for at least a year, if ever.
7            14.    At Opp. at p. 8:6-8, Plaintiffs make the outright lie that I directed Melanie
8     to turn over any monies coming into the Perfect 10 account to me. That is not her
9     testimony and I never did that. They added the words “to him” to what she actually said
10    to completely change the meaning of her testimony. At Opp. p. 13:6-9, Plaintiffs make
11    the outrageous claim that I concealed assets. I never concealed anything. They cite to
12    SUF285, which is basically a sequence of questions where they ask me about the
13    refrigerators, pool chairs, and televisions at the house. I tell them that I don’t believe
14    that any of that stuff was purchased by Perfect 10. They claim I did not provide a
15    complete identification when I did the best I could. No court has the resources to check
16    all of their non-responsive cites. To me it’s an abuse of the legal system.
17           15.    On or about August 15, I provided the receiver with 1,000 back issues of
18    Perfect 10. I am not aware that he has sold any of them. Attached as Exhibit 44 is a true
19    and correct copy of an email between me and the receiver’s assistant Zachary Lake.
20           16. Perfect 10’s experience with selling back issues is that the cost of the
21    employee needed to sell them substantially exceeded the revenues we obtained by doing
22    so. It cost Perfect 10 roughly $1 to print each magazine. Plaintiffs’ suggestion that
23    4,000 back issues were “worth” $46,000 is preposterous. 4,000 back issues are only
24    worth what someone will pay for them all at one time, and my experience is that number
25    is around ten cents a copy.
26           17.    I believe that the receiver made next to no effort to sell Perfect 10’s
27    intellectual property. Not a single person who I know that is in the business, who would
28    be interested in that extensive library contacted me. I did not see the content or auction

                                               -6-                   Case No.:2:17-cv-05075-AB(JPR)
         Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
     Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 7 of 16 Page ID
                                       #:8387



1     advertised anywhere. Even with the fee award and decision against Perfect 10, the
2     content is still worth multiple millions. I just saw no use in bidding against Giganews
3     and my financial situation has substantially deteriorated.
4            18.    At Opp. p. 24:9-11, Plaintiffs incorrectly contend that even if there had
5     been no fee award, the $1.75 million in transfers would have left Perfect 10 unable to
6     carry on its existing business. That is completely untrue. In the last two years, I had
7     been able to cut down dramatically on costs to the point where Perfect 10 was actually
8     able to make money. If there had been no fee award or even a modest award, Perfect 10
9     would have paid it and continued on with its claims against OVH and appealed the
10    ruling. Perfect 10 did not become insolvent as a result of the transfers, in part because
11    the money was transferred to me, and I have historically put that money back into the
12    company. That company was my life and I intended to fund it to the end.
13             I declare under penalty of perjury under the laws of the United States of
14    America that the foregoing is true and correct to the best of my knowledge. Executed
15    this 30th day of November 2018 in Los Angeles County, California.
16
17                                              __________________________________
                                                NORMAN ZADA
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                                               -7-                   Case No.:2:17-cv-05075-AB(JPR)
         Reply Declaration of Dr. Norman Zada in Support of Defendants’ Motion for Summary Judgment
Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 8 of 16 Page ID
                                  #:8388




                     Exhibit 42
Thank	you	so	much	for	your	time                                                                                 	
               Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 9 of 16 Page ID
                                                 #:8389
         Subject: Thank you so much for your  me
         From: Norman Zada <normanz@earthlink.net>
         Date: 7/23/2018 11:05 PM
         To: Jason.Gull@usdoj.gov


         Dear Mr. Gull,

         Thank you for spending so much  me with me. Regardless of what happens, you made my
         day.

         I’ve gone through our filings and have pulled what I hope will be of interest to you. You most
         likely are aware of some of the a ached materials but possibly not others. The first exhibit is
         from our third brief on cross appeal before the Ninth Circuit and shows that Giganews
         decided on October 29, 2014, to oﬀer various versions of the movie X‐Men Origins that were
         uploaded to someone’s Usenet servers months earlier, which Giganews had not oﬀered on
         September 16, 2014, even though it could have done so. In other words, Giganews selects
         what content it oﬀers, the process is not automa c. This makes total sense because the
         totality of all Usenet messages exceeds the capacity of Giganews’s servers, so it has to decide
         which messages to oﬀer. It is obviously be er to make sure to oﬀer at least one full length
         copy of each movie than to oﬀer ten copies of one movie and none of the next.

         I created the second exhibit today.  To obtain those printouts, I did a search using the
         Giganews Mimo newsreader on “Batman v. Superman,” “Microso  Windows,” and “Bootleg
         Beatles.” I then clicked on the first two files shown and then the fi h file shown. What the
         first printout shows is that Giganews elected to copy (without copyright holder permission) a
         21 Gigabyte file containing the movie Batman v. Superman Dawn of Jus ce, originally
         uploaded to the Usenet Operator Astraweb.com, onto Giganews’s servers 649 days ago.
         What the second printout shows is that Giganews elected to copy (without copyright holder
         permission) a 9 gigabyte version of Microso  Windows 10 from a diﬀerent Usenet Operator
         (it looks like Highwinds Media, which is the same as UNS Holdings), 254 days ago, and place
         it on Giganews’s servers. This file was also available from the newsgroup alt.binaries.warez.
         “Warez” is a term which typically is understood to mean that the content is pirated. What
         the third printout shows, is that Giganews copied “I saw her standing there by the Beatles”
         from what appears to be the Usenet Operator xs4all.nl (I can explain how I know that if you
         want) about 607 days ago. That file is associated with the newsgroup alt.binaries.beatles,
         which I would argue strongly suggests infringement on its face, along with the “Bootleg
         Recordings” in the file  tle.

         I would argue that these ac ons by Giganews demonstrate intent and knowledge in mul ple
         ways. First, Giganews elected to copy the above obviously infringing materials from other
         sources, without seeking permission of copyright holders. Second, because those items are


1	of	3                                                                                          9/17/2018	7:27	PM
Thank	you	so	much	for	your	time                                                                                	
              Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 10 of 16 Page ID
                                                 #:8390
         now being oﬀered by Giganews, Giganews also elected to make copies of those infringing
         materials available to its reques ng subscribers without permission of copyright holders.

         Pages 1‐3 of the third exhibit are admissions from Giganews that it has no licenses but has
         received hundreds of thousands of no ces from movie and recording studios in a single
         year. In total, Giganews only “terminated” 46 repeat infringers in 8 years, sugges ng that it
         did not sa sfactorily implement a repeat infringer policy, considering that it received over a
         million no ces over that  me period. In pages 4‐5 of Exhibit 3, Giganews adver ses that it
         does not track the downloads of its users. On page 6, Giganews oﬀers a VPN service which it
         created to help its users hide their downloads. On page 8, Giganews adver ses that it
         encrypts all its users downloads. Pages 9‐10 show that Giganews increased the amount of
         content it oﬀered from 9 petabytes (roughly 9,000 terabytes) in 2011, to 25 Petabytes in
         2014. On page 11, Giganews brags that it builds 100% of its server code, “Own the servers”
         “Write the code,” “Build the network.” I would suggest that shows quite a bit of voli on
         right there. Giganews also adver ses that it stores the content for 2213 days. That is more
         than six years, and certainly not temporary storage as the Ninth Circuit erroneously ruled. It
         is also obvious that they are not storing the content at the direc on of any user. They are
         storing the content as long as they want, independent of any user. The next two pages are
         admissions that Giganews oﬀered music and movies. The next page is from the website
         galac cgroups.com, which was a website run by Giganews’s sister company, Livewire.
         Giganews is basically admi ng there that it knows that its subscribers favorite hierarchies
         include alt.binaries.movies. The last two pages of Exhibit 3 show that Giganews employed
         the metatags “usenet movies” and “warez” among others.

         The first page of Exhibit 4 shows that there are only 6 or 7 major infringers who make up the
         “Usenet.” Giganews owns supernews. Highwinds‐media.com is the same as UNS Holdings,
         which I am pre y sure either owns easynews, newshos ng, and newscene, or supplies them
         with their infringing content. The second page of Exhibit 4 shows the contract that youtube
         requires its subscribers to sign, which gives Youtube the right to copy and distribute their
         content and indemnifies Youtube. Giganews basically has no meaningful agreement. The
         primary diﬀerence between Giganews and Youtube is that a) Giganews copies obviously
         infringing content from other infringers whereas Youtube relies solely on user “generated”
         uploaded content; Giganews sells access to all the unlicensed movies, songs, etc on its
         servers whereas Youtube does not; Youtube only streams rela vely low resolu on materials
         whereas Giganews has wri en so ware which allows it to provide copies of ultra high
         resolu on movies to its subscribers, Youtube removes all the content uploaded by an
         iden fied repeat infringer whereas Giganews keeps commercially exploi ng that content,
         and Youtube is truly storing the content at the direc on of the users whereas Giganews
         doesn’t even keep track of what the user has uploaded and does not obey the uploader’s
         instruc ons. I can go on. The last two pages are statements made by our expert, Professor
         Tygar of U.C. Berkeley Computer science. His tes mony that Perfect 10’s DMCA no ces were


2	of	3                                                                                         9/17/2018	7:27	PM
Thank	you	so	much	for	your	time                                                                            	
              Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 11 of 16 Page ID
                                                 #:8391
         be er than providing lists of incomprehensible Message‐IDs was completely ignored by both
         the District Court and by the Ninth Circuit.

         This is part of what I am sending. I am ge ng  red and will send you the rest tomorrow. 
         That will include their deponents' tes mony, emails from their users, evidence that
         Giganews oﬀers much more infringing content than did Megaupload, and other evidence of
         Giganews's knowledge.

         I can’t thank you enough for taking the  me to talk to me about this.

         Please confirm receipt.

         Sincerely,

         Norm Zada, Ph.D.

         310‐476‐0700 a er 10:30 AM

         310‐409‐7193 any me




           Attachments:


            Exhibits 1 to 4 more coming.pdf                                               3.2 MB




3	of	3                                                                                     9/17/2018	7:27	PM
Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 12 of 16 Page ID
                                   #:8392




                      Exhibit 43
                                      CONFIDENTIAL
        Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 13 of 16 Page ID
                                           #:8393



From:                                  Melanie P <melanie@perfect10.com>
Sent:                                  Saturday, October 18, 2014 1:34 PM
To:                                    normanz@earthlink.net
Cc:                                    melanie@perfect10.com
Subject:                               FW: Emergency Restoration Services


This is what I sent to the association. 
 
 

Melanie Poblete | Perfect 10, Inc. | melanie@perfect10.com

This e-mail may be confidential or may contain information which is protected by the attorney-client privilege and work product doctrine,
as well as other privileges. If you are not the intended recipient of this e-mail, any dissemination or copying of this message is strictly
prohibited. Anyone who mistakenly receives this e-mail should notify the sender immediately by telephone or return e-mail and delete it
from his or her computer.

 
From: Melanie P [mailto:melanie@perfect10.com]  
Sent: Friday, October 17, 2014 9:35 PM 
To: erin@belaircrest.net 
Cc: melanie@perfect10.com 
Subject: Emergency Restoration Services 
 
Hey Erin, 
 
We had a flood in our basement this week, unfortunately.  Yesterday, I referred to my vendor list and was able to get 
Emergency Service Restoration out here the quickest.  They spent 10 minutes assessing the situation, while name‐
dropping our celebrity neighbors they have as clients, and, upon urging that we needed to take immediate action, 
recommended that we have the basement vacuumed dry (because they failed to locate the drain that had been 
obstructed), and urged us to rent from them dehumidifiers and an air purifier for the cost of about $3,000, which, in the 
wake of seeing our basement flooded, seemed necessary.  They also proceeded to inform me that I would need to hire 3 
of their “affiliates” to task out separate jobs without really explaining what each one would do, and told me the job 
would cost roughly $50,000.  I told him we would need to look around. 
 
Today (Friday), I called another company that happened to be close by in Sherman Oaks for another bid, TipTop 
Restoration.  He came out almost immediately after I called and took 20 minutes or so assessing the situation.  He 
explained his credentials and went over his licensing and insurance information – made sure I was clear that I was 
dealing with an expert.  He was very knowledgeable, friendly and genuine.  He explained that Emergency Service 
Restoration did exactly the opposite of what they should have done given the circumstances.  They had left the 
temperature in the basement at about 70 degrees and didn’t remove the drenched insulation from the ceiling.  Without 
raising the temperature and removing the drenched material, it would be impossible to properly dehumidify the space 
given the amount of equipment we were given.  He said it was akin to trying to dry a bucket of water with a desk 
fan.  He took charge of the situation, and is dealing directly with my insurance, but explained that the equipment we 
rented, and the vacuuming of the water should have been closer to the $900‐1200 range, not the $3,000 range.  That is 
exorbitant.  He also explained in very clear detail  the steps being taken, provided a detailed quote on the spot, and was 
able to begin on remediating the damage.   
 

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                                      CONFIDENTIAL
        Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 14 of 16 Page ID
                                           #:8394
I want to also say that TipTop’s company policy is to honor whatever payment the insurance adjustor decides as a final 
payout.  If the quote for the job is $10,000, and the insurance will only pay $3,000, they will honor the insurance’s 
payment and consider the matter settled with the customer and they will dispute any disagreements about payment 
directly with the insurance.  Its amazing.  
 
Given my experience with Emergency Service Restoration, I would really hate it if one of our neighbors had something 
like this happen in their basement and they end up also having to deal with such an unprofessional company.  Would 
you consider removing them? 
 
Regardless of if you think its unreasonable to remove Emergency Service Restoration, I really highly recommend that we 
add TipTop Restoration to the list of preferred vendors.  I’m providing their contact information so you can check them 
out. 
 
TipTop Restoration 
Dan Reichman 
danreichman@tiptoprestoration.com 
www.tiptoprestoration.com 
Cell: 818‐486‐1148 
Office: 800‐788‐1196 
 
See you Sunday at the BBQ! 
 
Melanie 
 

Melanie Poblete | Perfect 10, Inc. | 11803 Norfield Court, Los Angeles, CA 90077 | best: 310.476.9869 | alternate:
323.313.6446 | office: 310.476.0700 | fax: 310.476.8138 | melanie@perfect10.com

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                                                                     2
                                                                                                                   PN-SUPPORT-0004
Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 15 of 16 Page ID
                                   #:8395




                      Exhibit 44
Re:	1000	magazines                                                                                           	
              Case 2:17-cv-05075-AB-JPR Document 121-7 Filed 11/30/18 Page 16 of 16 Page ID
                                                 #:8396
         Subject: Re: 1000 magazines
         From: Norman Zada <normanz@earthlink.net>
         Date: 8/10/2018, 4:28 PM
         To: Zachary Lake <ZLake@PasLaw.com>

         11803 Norfield Court, 90077.  Any time after 11 AM works.  Just give me some notice.  The
         magazines are in the basement.


         On 8/10/2018 4:18 PM, Zachary Lake wrote:
          Norman,

          What's the address again? I'm shooting for next week. What days and times are good for
          you?



          ‐‐‐‐‐Original Message‐‐‐‐‐
          From: David Pasternak
          Sent: Friday, August 10, 2018 2:27 PM
          To: Norman Zada
          Cc: Zachary Lake
          Subject: RE: 1000 magazines

          Zach will contact you to pick them up.

          ‐‐‐‐‐Original Message‐‐‐‐‐
          From: Norman Zada [mailto:normanz@earthlink.net]
          Sent: Friday, August 10, 2018 2:25 PM
          To: David Pasternak
          Subject: 1000 magazines

          Dear Mr. Pasternak,

          I've pretty much given up on ever selling any of the magazines. If you
          want to pick up 40 boxes of back issues, which is 1000 copies,

          please let me know.

          Thanks,

          Norm Zada, Ph.D.




1	of	1                                                                                     11/20/2018,	6:25	PM
